         Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 1 of 11



 1                                        THE HONORABLE JAMES L. ROBART
 2

 3

 4

 5
                         UNITED STATES DISTRICT COURT
 6                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 7

 8
     AUBRY MCMAHON,                             CASE NO. 2:21-CV-00920-JLR
 9
                Plaintiff,                      DEFENDANT WORLD VISION’S
10
                                                MOTION FOR PARTIAL
11        vs.                                   RECONSIDERATION AND/OR
                                                CLARIFICATION
12   WORLD VISION, INC.
13                                              NOTE ON MOTION CALENDAR:
                Defendant.                      August 4, 2023
14
                                                ORAL ARGUMENT REQUESTED
15

16

17

18

19

20

21

22

23

24

25

26

27

     DEFENDANT WORLD VISION’S          Page i             Ellis | Li | McKinstry
     MOTION FOR RECONSIDERATION                           1700 Seventh Avenue, Suite 1810
                                                          Seattle, WA 98101-1820
     CASE NO. 2:21-CV-00920-JLR                           206.682.0565 Fax: 206.625.1052
               Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 2 of 11



 1                                                        Table of Contents
 2
     I. RECONSIDERATION IS WARRANTED. ..................................................................... 1
 3
          A. This Case Is a Bostock “Future Case.” ....................................................................... 1
 4
          B. Autonomy Here Turns on Religious Justification. ................................................. 2
 5        C. The Court’s Initial Autonomy Judgment Survives Harmless Error. ................... 2
 6        D. Fremont, Elvig, Maxon, and Spencer Support Autonomy Here. ............................. 3
 7        E. Substitution of Neutral Principles Defies OLG/Bostock. ........................................... 4

 8        F. Neutral Principles Oversteps Puri and Harms All Religious Employers. ............. 5
          G. Neutral Principles Is Ill-Suited Here. .......................................................................... 6
 9
     II. CLARIFICATION IS NEEDED. ....................................................................................... 7
10

11        A. Neutral Principles Has Not Been Argued and Needs Scrutiny. ............................. 7
          B. Bostock Expressly Limits Itself to Status (Versus Conduct). .................................. 8
12
          C. Autonomy Should Remain for Argument. .............................................................. 8
13
          D. Jurisdiction Should Remain for Argument. ............................................................. 8
14
     III. CONCLUSION................................................................................................................... 8
15

16

17

18

19

20

21

22

23

24

25

26

27

        DEFENDANT WORLD VISION’S                                     Page ii                      Ellis | Li | McKinstry
        MOTION FOR RECONSIDERATION                                                                1700 Seventh Avenue, Suite 1810
                                                                                                  Seattle, WA 98101-1820
        CASE NO. 2:21-CV-00920-JLR                                                                206.682.0565 Fax: 206.625.1052
              Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 3 of 11



 1            WV respectfully seeks reconsideration and/or clarification of the “7/24 Order.”
 2
     Reconsideration is proper since the error identified in the “6/12 Order” is harmless
 3
     and its ruling is valid on other grounds. Otherwise, clarification is needed to guide the
 4

 5   new MSJ cross-briefing. This is especially true since the many autonomy cases cited by

 6   WV have yet to be “address[ed].” 6/12 Order 18. The 7/24 Order analyzed only the
 7
     applicability of Opara/MD’s test, concluding that earlier reliance on Butler’s specific
 8
     analysis was misplaced. But autonomy is much broader, see OLG, 140 S.Ct. at 2060, and
 9

10   WV separately briefed distinct autonomy principles. Compare Dkt.26 at 13-16 and

11   Dkt.34 at 9 (Opara) with Dkt.26 at 22-23, Dkt.32 at 28-30, and Dkt.34 at 3-7 (autonomy).
12   I.       RECONSIDERATION IS WARRANTED.
13
              A.    This Case Is a Bostock “Future Case.”
14
              Religious employers appear in relatively few Title VII cases, and they typically
15

16   defend on secular grounds, e.g., downsizing, misconduct, poor performance. Only a

17   fraction offer “religious justifications,” which Bostock left for “future cases” “like ours.”
18
     140 S.Ct. at 1753-54. Only a fraction of those invoke the Religion Clauses, and only a
19
     handful involve both ministerial exception (“ME”) and autonomy. Puri, 844 F.3d at
20

21   1157-68 (applying both ME and “other principles of the [Religion] Clauses under [the]

22   ‘doctrine of ecclesiastical abstention,’” supporting this Court’s holding that both
23
     doctrines can apply in this case). Precedents are few, manifest errors easy to make.
24
              In cases like ours, autonomy is reinforced by many constitutional doctrines and
25

26   the Religious Organization Exemption, which itself is a “legislative application[] of the

27   church-autonomy doctrine.” Korte, 735 F.3d at 678. See Dkt.26 at 9-33; Amos, 483 U.S.

          DEFENDANT WORLD VISION’S                Page 1              Ellis | Li | McKinstry
          MOTION FOR RECONSIDERATION                                  1700 Seventh Avenue, Suite 1810
                                                                      Seattle, WA 98101-1820
          CASE NO. 2:21-CV-00920-JLR                                  206.682.0565 Fax: 206.625.1052
            Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 4 of 11



 1   327 (ROE/autonomy); OLG, 140 S.Ct. 2049 (ME/autonomy); Fulton, 141 S.Ct. 1868 (free
 2
     exercise); Tandon, 141 S.Ct. 1294 (same); Kennedy, 142 S.Ct. 2407 (free exercise/speech),
 3
     and 303 Creative, 143 S.Ct. 2298 (speech/expressive association); Hosanna, 565 U.S. at
 4

 5   199-202 (Alito/Kagan) (same); Green, 52 F.4th at 780-92 (same). All use autonomy.

 6          B.     Autonomy Here Turns on Religious Justification.
 7          Autonomy is (1) “independence” from “secular” “control,” “manipulation,” or
 8
     “interference.” Hosanna, 565 U.S. at 186. It protects (2) religious parties from
 9
     encroachment and (3) secular courts from entanglement. OLG, 140 S.Ct. at 2060. It
10

11   prevents (4) “substantive entanglement between church and state,” Elvig, 375 F.3d at

12   956, and (5) “procedural” entanglement from “the very process of inquiry,” id. (6) It is
13
     decisive in cases that never cite it. Spencer, 633 F.3d at 728-29.
14
            Here autonomy turns on a “religiously motivated personnel decision” or
15

16   “religious justification,” 6/12 Order 17-26, which is decisive in the “numerous” cases

17   cited by WV and yet to be addressed. Id. at 18; see also Dkt.32 at 31 n.27. The absence of
18
     such a justification was dispositive in Puri, 844 F.3d at 1167, Elvig, 375 F.3d at 956-57,
19
     Bollard, 196 F.3d at 946-47, and Fremont, 781 F.2d at 1367 n.1. “Here, by contrast, World
20

21   Vision has offered a religious justification.” 6/12 Order 24.

22          C.     The Court’s Initial Autonomy Judgment Survives Harmless Error.
23
            This Court vacated its judgment for wrongly “analyzing Ms. McMahon’s claims
24
     under the burden-shifting framework” of Opara/MD, 7/24 Order 9-10, particularly its
25

26   “pretext element,” id. But autonomy may include the same inquiry, irrespective of MD,

27   burden shifting, or facial discrimination. A “pretext inquiry” is appropriate under

       DEFENDANT WORLD VISION’S                   Page 2              Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                     1700 Seventh Avenue, Suite 1810
                                                                      Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                     206.682.0565 Fax: 206.625.1052
            Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 5 of 11



 1   “religious autonomy,” Hosanna, 565 U.S. at 206 (Alito/Kagan), when facts “may reveal
 2
     a non-religious pretext for termination,” Maxon, 549 F.Supp.3d at 1128. Offering a
 3
     genuine justification is akin to step two; ensuring its legitimacy is akin to step three.
 4

 5          Thus, without a hint of burden shifting, Fitzgerald v. Roncalli H.S., 2023 WL

 6   4528081 (7th Cir. July 13, 2023) ruled that a church cannot invoke the ME “simply by
 7
     asserting that everyone on its payroll is a minister [since, as] in other Title VII cases,
 8
     the plaintiff can defeat summary judgment by producing evidence that the church’s
 9

10   justification is pretextual,” id. at *2, i.e., not “genuine,” id. at n.*. Likewise in non-ME

11   autonomy cases, a “plaintiff can defeat summary judgment [if the] justification is
12   pretextual.“ Id. Citing Fremont, Judge Brennan’s concurrence analogized to autonomy-
13
     based ROE defenses. “[A]s in our sister circuits, a pretext inquiry—akin to step three
14
     of [MD]—should apply to the employer’s proffered religious rational.” Id. at *6.
15

16          D.      Fremont, Elvig, Maxon, and Spencer Support Autonomy Here.

17          Autonomy requires enough evidence of genuineness to preempt or rebut
18
     pretext. “If, for example, a religious institution were to present ‘convincing evidence’
19
     that an employment practice” was religiously motivated, there would be no
20

21   “jurisdiction to investigate further [for] pretext.’” Fremont, 781 F.2d at 1366.1 In

22   Fremont, pretext was so evident that the employer “could not justify or rebut it” “as a
23
     matter of law.” Id. at 1367 n.1. If the employer had supplied convincing evidence, it
24
     would have prevailed as a matter of law. In Elvig, the “purely secular inquiry” provided
25

26
     1 Fremont found no credible religious justification. Such religious defenses often are labeled
27   “religious discrimination,” a confusing word choice. Dkt.42 at 5-6 & n.3.

       DEFENDANT WORLD VISION’S                    Page 3              Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                      1700 Seventh Avenue, Suite 1810
                                                                       Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                      206.682.0565 Fax: 206.625.1052
            Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 6 of 11



 1   no occasion to “scrutinize” a “religious reason for the alleged mistreatment” because
 2
     none was offered. 375 F.3d at 959. But here, WV offers “a religious justification” for the
 3
     “alleged mistreatment,” id., which (if genuine) cannot be scrutinized for validity or
 4

 5   rationality, id. Any such “inquiry” is barred whether or not it mentions MD or pretext.

 6          Elvig also analyzes religious justification under “protected-choice rationale,” id.
 7
     at 960, which also fits here. “Because there is a ‘protected-choice rationale’ for [WV’s]
 8
     actions in this case [they] must be treated as if they were ‘unrelated to any’”
 9

10   discrimination. Id. at 960. The Constitution removes all such “protected employment

11   decisions [from] the equation, thus assuring that [WV’s] liability under Title VII will
12   not be based on [its religious decision to] terminate[.]” Id. at 963. WV’s “religiously
13
     motivated personnel decision” must not be treated as illegal discrimination.
14
            Maxon is another ROE/autonomy case that involves identical facts and
15

16   comparable law. Dkt.26 at 18-20. Citing Bostock, Maxon explains:

17          To the extent that Plaintiffs were dismissed because their marriages were
18          with spouses of the same sex, rather than the opposite sex, Plaintiffs’
            claim fails because the religious exemption applies to shield these
19          religiously motivated decisions[.]
20
     Maxon, at *2 (Title IX); see Spencer, 633 F.3d at 726 n.3 (“religious reasons” suffice).
21
            E.     Substitution of Neutral Principles Defies OLG/Bostock.
22
            “In [Puri’s] circumstances, the availability of the neutral-principles approach
23

24   obviate[d] the need for ecclesiastical abstention.” Puri, 844 F.3d at 1168 (2017). This

25   “approach” was “available” in Puri because it faced a “secular factual question: under
26
     [state] law and the secular governing documents … were the plaintiffs [entitled] to the
27

       DEFENDANT WORLD VISION’S                   Page 4              Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                     1700 Seventh Avenue, Suite 1810
                                                                      Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                     206.682.0565 Fax: 206.625.1052
             Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 7 of 11



 1   disputed board positions?” Id. at 1167. Puri thus resembled a property dispute, id. at
 2
     1165, not a motive-driven discrimination case. Regardless, its substitution of neutral
 3
     principles cannot survive OLG (2020) and Bostock (2020) in “cases like ours,” id. at 1753,
 4

 5   lest it eviscerate OLG’s holding and Bostock’s statement concerning ME/autonomy.

 6          F.      Neutral Principles Oversteps Puri and Harms All Religious Employers.
 7          Neutral principles has never been briefed here. Puri involved “purely secular
 8
     terms” of documents, 844 F.3d at 1165-66, “purely secular legal rules,” id., and “no
 9
     consideration of doctrinal matters,” id. It is inapposite here. First and crucially,
10

11   “defendants [did] not offer a religious justification for their” actions, id. at 1167, the

12   central element of autonomy. Second, “the texts guiding [their] actions [were
13
     amenable] to secular legal analysis.” Id. Third, the court would “make [only] secular
14
     judgments.” Id. Fourth, the court could resolve the case “by relying on state statutes
15

16   [and] corporate charters,” with “no danger [of] passing judgment on questions of

17   religious faith or doctrine.’” Id. at 1168. Not so here. Plaintiff’s claim is barred since
18
     “her subjection to [discrimination] was doctrinal.” Elvig, 375 F.3d at 959.
19
            The consensus for autonomy over neutral principles is broad. See Amicus Briefs
20

21   in Nos. 22-824 and 22-741 at www.supremecourt.gov/docket (Anglicans, Baptists,

22   Catholics, Hindus, Jews, Lutherans, Mormons, Muslims, and scholars). Otherwise,
23
     threat of litigation might pressure Jewish groups to hire Messianic Jews, religious
24
     LGBTQ groups to hire non-affirming Muslims,2 and religious groups to hire atheists.
25

26
     2 Or field non-gay softball players. Apilado v. N. Am. Gay Amateur Athletics, 792 F.Supp.2d 1151,
27   1156 (W.D.Wash. 2011) (“right to exclude anybody who does not share in its values”).

       DEFENDANT WORLD VISION’S                     Page 5               Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                        1700 Seventh Avenue, Suite 1810
                                                                         Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                        206.682.0565 Fax: 206.625.1052
            Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 8 of 11



 1          G.     Neutral Principles Is Ill-Suited Here.
 2          Title VII requires “discriminatory animus.” Boeing, 577 F.3d at 1049. No such
 3
     evidence exists here. 6/12 Order 2-5 (WV’s foundational principles). WV seeks only to
 4
     follow its Biblical views humbly, with animus toward none. Id. To say otherwise is to
 5

 6   take sides in a religious dispute, as Plaintiff has done, Dkt.26 at 6-13, or to side against

 7   religion. Dkt.32 at 2-14. Autonomy prohibits both.
 8
            Indeed, there can be no case here unless this Court finds that Plaintiff satisfies
 9
     WV’s religious qualifications, which would violate autonomy. If Plaintiff were a
10

11   Hindu, Muslim, or atheist, she clearly would be disqualified on religious grounds,

12   irrespective of her SSM. Dkt.26 at 6. Thus, Plaintiff’s profession of Christianity cannot
13
     permit this Court to find that she satisfies all WV’s religious requirements, including
14
     living as a biblical Christian. Such judgments are unavoidably religious.
15

16          The 7/24 Order further violates religious autonomy in making two value

17   judgments about WV’s religious exercise. First, it necessarily judges WV’s beliefs about
18
     marriage and sexual conduct as “secondary,” thereby “meddling in matters related to
19
     a religious organization’s ability to define the parameters of what constitutes
20

21   orthodoxy.” Curay-Cramer, 450 F.3d at 141; accord Little, 929 F.2d at 948. Second, it

22   necessarily judges those religious beliefs as unworthy of First Amendment protection
23
     afforded other religious exercise.
24
            This result elevates SSM to super-protected status. Under Plaintiff’s logic, to
25

26   work at WV an Orthodox Jew must abandon her religious identity and exercise, but

27   Plaintiff need sacrifice nothing. That is, Plaintiff’s sexual conduct, under Plaintiff’s

       DEFENDANT WORLD VISION’S                  Page 6              Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                    1700 Seventh Avenue, Suite 1810
                                                                     Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                    206.682.0565 Fax: 206.625.1052
            Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 9 of 11



 1   logic, is entitled to greater protection than an Orthodox Jew’s religious exercise. Such
 2
     logic can denigrate believers, unbelievers, or LGBTQ Christians who choose celibacy
 3
     for religious reasons. Or it can “stigmatize.” Kumar v. Koester, 2023 WL 4781492, *4
 4

 5   (C.D.Cal.   July   25,   2023)   (including    “caste”   as   protected      trait     in    CSU’s

 6   antidiscrimination policy “stigmatizes Hinduism”).
 7
            Autonomy means that WV may require its staff to agree with its religious
 8
     beliefs—whether in the Trinity (Spencer) or in Biblical marriage. That WV’s policy
 9

10   “produces a form of sex discrimination does not make the action less religiously

11   based.” Dkt.26 at 20 n.18 (quoting Easterbrook, J.). Here, the alleged sex discrimination
12   and the proffered religious justification are one and the same. “Discerning doctrine
13
     from discrimination” is improper, if even possible. Demkovich, 3 F.4th at 981 (en banc).
14
            “World Vision contends that its humanitarian relief efforts have religious
15

16   meaning; the Employees claim they do not. [To inquire further], we would at least

17   implicitly have to answer that question.” Spencer, 633 F.3d at 731. Here, WV’s SOCs
18
     are expressly and facially religious. To dispense with them as “facially discriminatory”
19
     does not avoid these religious questions, it decides them, and does so by treating
20

21   express religious justifications as both irrelevant and discriminatory. Neutral

22   principles provide no path through this “constitutional briar patch.” Id. at 732.
23
     II.    CLARIFICATION IS NEEDED.
24
            A.     Neutral Principles Has Not Been Argued and Needs Scrutiny.
25
            As discussed above, “neutral principles” is an ill-suited substitute for autonomy
26

27   in this case. It has not yet been argued and needs careful attention.

       DEFENDANT WORLD VISION’S                    Page 7             Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                     1700 Seventh Avenue, Suite 1810
                                                                      Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                     206.682.0565 Fax: 206.625.1052
            Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 10 of 11



 1          B.      Bostock Expressly Limits Itself to Status (Versus Conduct).
 2          “Today, we must decide whether an employer can fire someone simply for
 3
     being homosexual or transgender.” 140 S.Ct. at 1737. “The only question before us is
 4
     whether … simply for being homosexual or transgender[.]” Id. at 1753; Dkt.32 at 12.
 5

 6          C.      Autonomy Should Remain for Argument.

 7          If it was a mistake to premise autonomy on burden-shifting under Opara/MD,

 8   it would be a graver mistake to dispense with autonomy on that basis. Supra at 1-5.
 9
     The 7/24 Order never addressed WV’s separate autonomy cases and analysis.
10
            D.      Jurisdiction Should Remain for Argument.
11

12          First, having prevailed on MSJ, WV had no reason to seek reconsideration of

13   this issue. Second, there is great “confusion about jurisdiction in the current case law
14
     on church autonomy.”3 Third, Plaintiff’s own testimony reinforces the threshold
15
     nature of jurisdiction here, apart from the common conflation with ME/autonomy
16

17   cases. Fourth, jurisdiction must always “be policed.” Ruhrgas AG, 526 U.S. at 583.

18   III.   CONCLUSION.
19          The parties disagree about the 7/24 Order’s scope, but jointly seek clarification
20
     prior to new briefing. WV respectfully requests reconsideration, supra, or clarification
21
     that all issues raised in initial MSJ briefing—except the specific holding of the 7/24
22

23   Order vacating reliance on Opara/MD—remain for briefing and argument.

24          Respectfully submitted,
25

26

27   3 Weinberger, Is Church Autonomy Jurisdictional?, 54 LOY. U. CHI. L.J. 471, 475 (2023).


       DEFENDANT WORLD VISION’S                     Page 8               Ellis | Li | McKinstry
       MOTION FOR RECONSIDERATION                                        1700 Seventh Avenue, Suite 1810
                                                                         Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                        206.682.0565 Fax: 206.625.1052
        Case 2:21-cv-00920-JLR Document 46 Filed 08/04/23 Page 11 of 11



 1       DATED this August 4, 2023
 2
                                              ELLIS, LI & McKINSTRY PLLC
 3
                                              By: /s/ Nathaniel L. Taylor
 4
                                              Nathaniel L. Taylor, WSBA No. 27174
 5                                            Abigail J. St. Hilaire, WSBA No. 48194
                                              1700 Seventh Avenue, Suite 1810
 6                                            Seattle, WA 98101-1820
 7                                            Telephone: (206) 682-0565
                                              Fax: (206) 625-1052
 8                                            Email: ntaylor@elmlaw.com
                                              Email: asthilaire@elmlaw.com
 9

10                                            GAMMON & GRANGE, P.C.
                                              Scott J. Ward (pro hac)
11                                            J. Matthew Szymanski (pro hac)
12                                            1945 Old Gallows Road, Suite 650
                                              Tysons, Virginia 22182
13                                            Telephone: (703) 761-5012
                                              Email: SJW@gg-law.com
14
                                              Email: JMS@gg-law.com
15
                                              Attorneys for Defendant
16                                            World Vision, Inc.
17

18       I certify that this memorandum complies with the 2,100-word limit of LCR 7(e).

19

20

21

22

23

24

25

26

27

     DEFENDANT WORLD VISION’S              Page 9             Ellis | Li | McKinstry
     MOTION FOR RECONSIDERATION                               1700 Seventh Avenue, Suite 1810
                                                              Seattle, WA 98101-1820
     CASE NO. 2:21-CV-00920-JLR                               206.682.0565 Fax: 206.625.1052
